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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

      Linda Guzzo,                              :
                                                :
             Plaintiff                          :             3:21CV0254(VDO)(SDV)
                                                :
                    v.                          :
                                                :
      Connecticut State Colleges                :
      and Universities                          :
                                                :
             Defendant                          :             December 3, 2024
                                                :

                     STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff, Linda

Guzzo, and Defendants, Connecticut State Colleges and Universities (“CSCU”) and Robert

Steinmetz, G. Duncan Harris and Diane Bordonaro, in their official capacities, through

counsel, hereby stipulate to a dismissal with prejudice of the above-captioned matter as to the

Defendants, without any award of attorney’s fees or costs to any party.




                                                       RESPECTFULLY SUBMITTED,
                                                       PLAINTIFF,
                                                       LINDA GUZZO

                                                By:     /s/ Peter Goselin
                                                       Peter Goselin
                                                       The Law Office of Peter Goselin
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                                        DEFENDANTS,
                                        CONNECTICUT STATE COLLEGES
                                        AND UNIVERSITIES,
                                        ROB STEINMETZ, DIANE
                                        BORDONARO, G. DUNCAN HARRIS
                                        (OFFICIAL CAPACITIES)
                                        WILLIAM TONG
                                        ATTORNEY GENERAL

                                By:      /s/ Carolyn Ennis
                                        Carolyn Ennis
                                        Assistant Attorney General
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                                         CERTIFICATION

        I hereby certify that on December 3, 2024, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court's electronic filing system or
by mail to anyone unable to accept electronic filing. Parties may access this filing through the
Court's system.



                                                     / s / Peter Goselin




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